       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 1 of 9 PageID #:1




                       IN THE UNITED STATE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OUYEINC LTD.,

                       Plaintiff,
                                                    Case No. ___________
       v.

INDIVIDUALS, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
ON SCHEDULE “A,”

                       Defendants.



                                           COMPLAINT

       Plaintiff, Ouyeinc Ltd. (“Plaintiff” or “Ouyeinc”), by and through its counsel, hereby

brings the present action against the partnerships and/or unincorporated associations identified

on Schedule A, attached hereto (named, “Defendants”), and alleges as follows:

                                    JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. § 1338(a)-(b) and

28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as Defendants have

committed the acts as described herein within this judicial district.

       3.      Upon information and belief, the Defendants are subject to this Court’s specific

and general jurisdiction due to at least their substantial business in the forum, this business

includes: (i) at least a portion of the acts complained; (ii) regularly conducting or soliciting

business, and/or deriving substantial revenue from goods and services provided to individuals in
       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 2 of 9 PageID #:2




Illinois and in this Judicial District; and (iii) directly targeting consumers in the United States,

including Illinois, by operating one or more commercial, interactive Defendant Internet Stores

through which Illinois residents can purchase products using infringing versions of Plaintiff’s

design patent products. Each of the Defendants has targeted sales from Illinois residents by

operating online stores that offer shipping to the United States, including Illinois, accept payment

in U.S. dollars and, on information and belief, has sold products using infringing versions of

Plaintiff’s design patent to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused substantial injury

in the State of Illinois.



                                              PARTIES

        4.      Plaintiff, Ouyeinc Ltd., is a Colorado Corporation, with a principal place of

business at 36 South 18th Avenue, Suite A, Brighton, CO 80601.

        5.      Defendants are individuals and businesses who conduct business throughout the

United States, including within Illinois and in this Judicial District, through the operation of the

fully interactive commercial websites and online marketplaces identified in Schedule A, attached

hereto. Each Defendant targets the United States, including Illinois, and has offered to sell and/or

has sold and/or continues to sell infringing products to consumers within the United States,

including Illinois and in this Judicial District.

        6.      While Defendants’ identities and locations are now unknown to Plaintiff, upon

information and belief, Defendants are primarily individuals and business entities who reside in

the People’s Republic of China or other foreign jurisdictions. Tactics used by Defendants to

conceal their identities and the full scope of their infringing operation make it virtually



                                                    2
      Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 3 of 9 PageID #:3




impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

network. In the event that Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.



                                         BACKGROUND

       7.      On January 22, 2019, registration number US D838,859 S (hereinafter “the D’859

Patent”), entitled “Wax Warmer,” was duly and legally issued by the U.S. Patent and Trademark

Office (“USPTO”). A true and correct copy of the D’859 patent is attached as Exhibit 1. The

D’859 patent is valid, enforceable and currently in full force and effect.

       8.      Plaintiff is the owner and assignee of all substantial rights, title and interest in the

D’859 Patent, including the right to bring this action and enforce the D’859 Patent against

infringers, and to collect damages for all relevant times. See Exhibit 2.

       9.      Plaintiff designs, manufactures and sells products which incorporate Plaintiff’s

patented designs (collectively, the “Plaintiff’s Products”).

       10.     Plaintiff’s Products are known for their distinctive patented designs. These

designs are broadly recognized by consumers.

       11.     Plaintiff uses these designs in connection with its Plaintiff’s Products, as shown

for example in the side-by-side comparison below:




                                                  3
       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 4 of 9 PageID #:4




              D’859 Patent                                    Ouyeinc Ltd’s Wax Warmer




        12.     Plaintiff operates a website and also through Amazon platform (collectively

“Plaintiff’s selling sites”) where it promotes and sells genuine Plaintiff’s Products. Sales of

Plaintiff’s Products via Plaintiff’s selling sites represent a significant portion of Plaintiff’s

business. Plaintiff’s selling sites features proprietary content, images and designs exclusive to

Plaintiff.

        13.     Upon information and belief, the Defendants have created and continue to create

numerous Amazon.com, AliExpress.com, Alibaba.com, Wish.com and eBay.com stores and

design them to appear to be selling genuine Pro-Wax100 products, while selling infringing

versions of Plaintiff’s products. The Amazon.com, AliExpress.com, Alibaba.com, Wish.com and

eBay.com stores identified in Schedule A appear to be related entities in some cases. Some stores

share several distinct and unique features such as using nearly identical store designs and using

                                                   4
      Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 5 of 9 PageID #:5




identical product pages, including identical pictures and product descriptions. This establishes a

logical relationship between them suggesting that Defendants’ illegal operations arise out of the

same transaction, occurrence, or series of transactions or occurrences.

       14.       Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Amazon.com, AliExpress.com, Alibaba.com, Wish.com and

eBay.com stores. Each Defendant targets the United States, including Illinois, and has offered to

sell and, on information and belief, has sold and continues to sell infringing products, to

consumers within the United States, including Illinois and in this Judicial District.



                           DEFENDANT’S UNLAWFUL CONDUCT

       15.       The success of the Plaintiff’s products has resulted in its being infringed upon by

a wide range of different marketplace stores. Plaintiff has identified numerous marketplace stores

on Amazon.com, AliExpress.com, Alibaba.com, Wish.com and eBay.com which are offering for

sale, selling, and importing infringing and unauthorized products to consumers in this Judicial

District and throughout the United States. Defendants have persisted in creating subsequent

online Stores.

       16.       Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms using the identities listed in Schedule A to the Complaint, as well as other



                                                  5
      Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 6 of 9 PageID #:6




unknown fictitious names and addresses. Such Defendant Internet Store registration patterns are

one of many common tactics used by the Defendants to conceal their identities, the full scope

and interworking of their infringing operations, and to avoid being shut down.

       17.     Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, infringing products for

sale in the Defendant Internet Stores bear similar infringing indicia to one another, suggesting

that the infringing products were manufactured by and come from a common source and that

Defendants are interrelated. The Defendant Internet Stores also include other notable common

features, including use of the similar accepted payment methods, check-out methods, meta data,

illegitimate SEO tactics, lack of contact information, identically or similarly priced items and

volume sales discounts, the similar incorrect grammar and misspellings, and the use of the

similar text and images, including content copied from Plaintiff’s product listings.

       18.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other online infringing cases use a variety of methods to evade enforcement

efforts including simply registering new online marketplace accounts once they receive notice of

a lawsuit, and operating multiple credit card merchant accounts to evade collection efforts by

Plaintiffs armed with enforceable judgments. Upon information and belief, Defendants maintain

off-shore bank accounts and regularly move funds from their online money accounts, to off-

shore bank accounts outside the jurisdiction of this Court.

       19.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to infringe Plaintiff’s design patent in connection with the

advertisement, distribution, offering for sale, and sale of infringing products into the United

States and Illinois over the Internet. Each Defendant Amazon.com, AliExpress.com,



                                                 6
       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 7 of 9 PageID #:7




Alibaba.com, Wish.com and eBay.com account shipped infringing products to the United States,

including Illinois, and has in fact sold or offered for sale the products during the course of

Plaintiff’s preliminary investigations.

       20.     Defendants’ infringement of Plaintiff’s Design in the making, using, offering for

sale, selling, and/or importing into the United States for subsequent sale or use of the Infringing

Products was willful.

       21.     Defendants’ infringement of Plaintiff’s Design in connection with the making,

using, offering for sale, selling, and/or importing into the United States for subsequent sale or use

of the Infringing Products, including the making, using, offering for sale, selling, and/or

importing into the United States for subsequent sale or use of Infringing Products into Illinois, is

irreparably harming Plaintiff.



                                    COUNT I
                    DESIGN PATENT INFIRNGEMENT (35 U.S.C. § 271)


       22.     Plaintiff re-alleges and incorporates by reference each and every allegation set

forth in the preceding paragraphs as if fully set forth herein.

       23.     Defendants are making, using, offering for sale, selling, and/or importing into the

United States for subsequent sale or use Infringing Products that infringe directly and/or

indirectly the ornamental design claimed in Plaintiff’s Design.

       24.     Defendants have infringed the Plaintiff’s Design through the aforesaid acts and

will continue to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused

Plaintiff to suffer irreparable harm resulting from the loss of its lawful patent rights to exclude




                                                  7
       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 8 of 9 PageID #:8




others from making, using, selling, offering for sale, and importing the patented invention.

Plaintiff is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

       25.     Plaintiff is entitled to recover damages adequate to compensate for the

infringement, including Defendants’ profits pursuant to 35 U.S.C. § 289. Plaintiff is entitled to

recover any other damages as appropriate pursuant to 35 U.S.C. § 284



                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

and all persons acting for, with, by, through, under or in active concert with them be temporarily,

preliminarily, and permanently enjoined and restrained from:

   a. making, using, offering for sale, selling, and/or importing into the United States for

       subsequent sale or use any products not authorized by Plaintiff and that include any

       reproduction, copy or colorable imitation of the design claimed in the Plaintiff’s Design;

   b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon the

       Plaintiff’s Design; and

   c. effecting assignments or transfers, forming new entities or associations or utilizing any

       other device for the purpose of circumventing or otherwise avoiding the prohibitions set

       forth in Subparagraphs (a) and (b).

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

without limitation, any online marketplace platforms such as Amazon.com, AliExpress.com,

Alibaba.com, Wish.com and eBay.com (collectively, the “Third Party Providers”) shall disable




                                                   8
       Case: 1:20-cv-03591 Document #: 1 Filed: 06/18/20 Page 9 of 9 PageID #:9




and cease displaying any advertisements used by or associated with Defendants in connection

with the sale of goods that infringe the ornamental design claimed in the Plaintiff’s Design;

3) That Plaintiff be awarded such damages as it shall prove at trial against Defendants that are

adequate to compensate Plaintiff for Defendants’ infringement of the Plaintiff’s Design, but in no

event less than a reasonable royalty for the use made of the invention by the Defendants, together

with interest and costs, pursuant to 35 U.S.C. § 284;

4) That the amount of damages awarded to Plaintiff to compensate Plaintiff for infringement of

the Plaintiff’s Design be increased by three times the amount thereof, as provided by 35 U.S.C. §

284;

5) In the alternative, that Plaintiff be awarded all profits realized by Defendants from

Defendants’ infringement of the Plaintiff’s Design, pursuant to 35 U.S.C. § 289;

6) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




DATED June 15, 2020                                     Respectfully submitted,

                                                        OUYEINC LTD.


                                                        By: /s/ James A. Karamanis
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                                                 9
